Case 6:23-cv-06098-CJS-MJP

A\F

ABRAMS | FENSTERMAN, LLP

Document 37 Filed 08/27/24 Page 1 of 6

Rochester

2280 East Avenue, Ist Floor
Rochester, New York 14610
585.218.9999 | P
info@abramslaw.com | E

ATTORNEYS AT LAW

Long Island - Brooklyn - White Plains - Rochester - Albany

Maureen T. Bass, Esq.
Partner
mbass@abramslaw.com

August 27, 2024
VIA: ECF

Hon. Mark W. Pedersen
United States Magistrate Judge
100 State Street

Rochester, New York 14614

Re: Casey Voelkl v. Town of Greece, et al.
Case No. 23-cv-06098

Dear Magistrate Judge Pedersen:

We write this letter to request (1) a discovery conference prior to filing a motion to compel,
and (2) this Court’s consideration of the appointment of a special master to preside over discovery.

There is no dispute that the Greece Police Chief wrecked his fleet vehicle days before a
contested election. There is no dispute that Plaintiff, the former Deputy Chief, called the Monroe
County District Attorney and requested an independent investigation. There is also no dispute that
after these events, Greece (1) demoted Plaintiff to patrol officer, (2) sent a letter to his certifying
agency, the New York State Division of Criminal Justice Services, inquiring about Plaintiffs
“cheating”, (3) denied Plaintiff enrollment in Greece’s health insurance plan, (4) completed an off-
cycle evaluation, and (5) inserted a counseling memorandum in his file after he retired. .

This case does not span a great period of time, and involves a limited number of individuals
and discrete allegations.

The only real dispute here is whether the Defendants’ actions were justified and in
compliance with applicable laws and procedures, or as the Plaintiff claims, unlawful retaliatory
acts. As with any retaliation case, the Defendants’ motives, deliberations and intentions are
material issues subject to discovery.

On May 14, 2024, Plaintiff served his document demands. In addition to the parties,
Plaintiff identified 19 individuals as ESI custodians who he understood were involved with or had
knowledge of the actions taken above. They included:
Case 6:23-cv-06098-CJS-MJP Document 37 Filed 08/27/24 Page 2 of 6

F

Hon. Mark W. Pedersen
August 27, 2024
Page | 2

Parties
Michelle Marini (both work and personal emails and cell devices)

William Reilich (both work and personal emails and cell devices)
Casey Voelkl

Personnel Directors

Keith Suhr (Greece personnel director)

Anni (Baxter) Evans (former Greece personnel director)
Kelsey Feeney (former Greece personnel director)

Plaintiff's Former Supervisors

Former Chief Andrew Forsythe

Former Acting Chief Jason Helfer

Chief Michael Wood

Deputy Chief Naser Zenelovic

Deputy Chief Ryan Parina

Deputy Chief Aaron Springer

Special Deputy Chief Joseph Morabito
Assistant to Special Deputy Chief Mark Case

Witnesses Identified in Defendants’ Initial Rule 26 Disclosures
Brian Marianetti

Jared Rene

Joshua Spearman

Andrew Potter

Greece Board Members Identified in Defendants’ Initial Rule 26 Disclosures as Having
Information About the Town’s Response to the Chiefs Crash

Michael Barry

Diana Christodaro

Mike Bloomer

William Murphy
Case 6:23-cv-06098-CJS-MJP Document 37 Filed 08/27/24 Page 3 of 6

F

Hon. Mark W. Pedersen
August 27, 2024
Page | 3

In addition to identifying these particular custodians, Plaintiff requested the production of:

To the extent not covered by the above, all documents concerning Bryan Root
and the Forsythe MVA (hereinafter referred to as the “Root Documents.”)

Plaintiff's Document Demand to the Town of Greece, p 18 P 72 (emphasis added). On July 1,
2024, Greece agreed to produce these documents, responding:

RESPONSE: Defendant objects to this request to the extent it is overbroad,
unduly burdensome and not limited to the subject matter of this
action. Subject to the foregoing general and specific objections, Defendant will
produce responsive documents after a reasonable search.

Town of Greece Response to Plaintiff's Discovery Demands dated July 1, 2024 (emphasis added).

From the custodians identified and listed above, to date, and after countless conferences,
letters and emails, Plaintiff has only received emails from the boxes of Plaintiff, Mr. Helfer, Mr.
Parina, Mr. Potter, Mr. Spearman, and Mr. Rene. Plaintiff has also received some emails from the
boxes of Mr. Morabito and Mr. Case in response to subpoenas.

To the best of Plaintiff's knowledge, there remain twelve (12) identified custodians from
whom we have received no responsive documents or been provided with any update as to a search.
These include Ms. Marini, Mr. Reilich, Ms. Evans, Ms. Feeley, Mr. Wood, Mr. Zenelovic, Mr.
Springer, Mr. Marianetti, Mr. Barry, Ms. Christodaro, Mr. Murphy and Mr. Bloomer. With respect
to some of these witnesses including the individual Defendants, there are outstanding requests
related to multiple emails and cellular devices. Yesterday, we were told the Greece employee Mr.
Suhr had completed his own search of his own box and identified responsive documents, but those
documents have not yet been produced to Plaintiff.

Even though Defendants’ document production does not appear to be near complete, there
are fourteen (14) depositions that have been noticed. Ms. Marini’s deposition has not been
scheduled as Defendants’ counsel indicates that only her criminal defense attorney, Joseph
Damelio, may schedule that deposition after her recent indictment.

Yesterday, after the deposition of a third-party witness subpoenaed by Defendants, I
requested a status update and asked Mr. Sleight and Ms. Ivy when they expected the Defendants’
production to be complete. They were unable to commit to even estimating a date. As with
previous communications both verbal and in written, we indicated our willingness to narrow times,
custodians and identify search terms. Both counsel indicated they were not prepared to have that
Case 6:23-cv-06098-CJS-MJP Document 37 Filed 08/27/24 Page 4 of 6

F

Hon. Mark W. Pedersen
August 27, 2024
Page | 4

discussion at that time (even though these issues had been raised in several written
communications prior to this date).

Under those circumstances, I stated that that it would be Plaintiffs position that the 14
depositions of primarily third-party witnesses should not move forward until the Defendants
completed their production so that we could avoid repeat depositions. It is my recollection that
Mr. Sleight verbally agreed.

Later in the conversation, Defendants’ counsel changed their mind and advised that they
were fine with adjourning all other depositions, but not the deposition of Bryan Root (scheduled
for today). Notably, Mr. Root has already been subject to a compelled and recorded interview by
Greece about the Forsythe MVA and was not identified on Defendants’ Initial Rule 26 Disclosures
as one of the 20 individuals with any knowledge of relevant information related to this case.

Mr. Sleight finally acknowledged his real motive for wanting to proceed with Greece’s
second compelled interview of Mr. Root -- because he believed it created a conflict of interest for
Plaintiff's law firm as it represents Mr. Root in certain state court litigation. In other words, the
urgency to depose Mr. Root has nothing to do with discovering new relevant information relating
to this case, but presents an orchestrated opportunity to attack opposing counsel.

Mr. Sleight did not articulate any reason why Mr. Root’s deposition should not be
adjourned until after Greece produced the Root Documents. Before I left their office in the early
afternoon, I advised both Mr. Sleight and Ms. Ivy that Mr. Root’s deposition would not take place
under those circumstances. I advised them that I would confirm that fact in written correspondence,
which was sent before the close of business.

After hours, Ms. Ivy responded by demanding Mr. Root’s appearance and falsely stating:

Please note that Plaintiff did not request any documents relating to Mr. Root,
however Defendants conducted a search of Mr. Root’s e-mails and produced
the responsive documents we located. No other searches for documents
relating to Mr. Root are under way, and there is no reason whatsoever to delay
his deposition.

As noted above Plaintiff specifically requested “all documents concerning Bryan Root and
the Forsythe MVA.” The Root Documents would not be limited to just emails in Mr. Root’s
mailbox and as such, Plaintiff does not and cannot have the full universe of Root Documents.
Case 6:23-cv-06098-CJS-MJP Document 37 Filed 08/27/24 Page 5 of 6

F

Hon. Mark W. Pedersen
August 27, 2024
Page | 5

Whenever Defendants’ document production is completed, witnesses may need to be
recalled to provide testimony about documents that Plaintiff did not know existed at the time of
the deposition. This would (1) be an unnecessary burden to non-party witnesses, (2) cause
unnecessary costs and fees, and (3) further delay the completion of discovery. Practically, as Mr.
Sleight initially agreed, it does not make sense to move forward with depositions when Defendants
cannot even identify when they believe their document production will be complete.

Unfortunately, this letter is not just about a “second bite at the apple” compelled testimony
of Mr. Root that is not likely to lead to any relevant discovery related to this case. We respectfully
request a conference and consideration of a special master as we have concerns that Defendants’
litigation strategy is not in compliance with the Rules and Orders of this Court regarding discovery
and civility. In addition to the circumstances set forth above, other examples include:

e Plaintiff issued a subpoena duces tecum to Mr. Case, an investigator who worked on
Greece’s internal affairs investigation. During his deposition, Mr. Case admitted that he
had not produced documents at Mr. Sleight’s direction. Per his testimony, with no attorney
review, Mr. Sleight directed Mr. Case to pull out “privileged” documents from his
production. With respect to the documents that were produced, even though Mr. Sleight’s
office received them several days before his deposition, they were not turned over until late
Friday evening with a scheduled Monday morning deposition. There has not been a
privilege log prepared for the documents Mr. Case pulled out of the production (but one
was created for a document Defendants wanted to “claw back.”’)

e During Mr. Morabito’s deposition, Mr. Sleight directed Mr. Morabito to not answer certain
questions. This included the question “Are you represented by Mr. Sleight?”

e Mr. Morabito indicated he had an “accordion of documents” at his home and that he would
provide them to Defendants’ counsel for production. Defendants’ counsel provided 4
documents and when I asked Mr. Sleight for an explanation as to the other documents, he
shrugged his shoulders and provided no explanation for the discrepancy.

e On August 26, 2024, Defendants’ counsel advised that while they represent Ms. Marini in
this litigation, we needed to schedule her deposition with her criminal defense attorney.

e For the first time on August 26, 2024, Mr. Sleight indicated that he would have to consider
whether the Defendants’ entire deliberative process with respect to Plaintiff’s demotion,
A

Case 6:23-cv-06098-CJS-MJP Document 37 Filed 08/27/24 Page 6 of 6

F

Hon. Mark W. Pedersen
August 27, 2024
Page | 6

might be shielded from discovery because of “executive session privilege” and “attorney
client privilege.” Executive Session Privilege, to the extent is it applicable, is not identified
in Defendants’ written response to Plaintiff’s document demands. It was also not
previously raised with this Court in the initial conference.

I respectfully submit to this Court that this case requires additional supervision because
after several conferences and written communications, Defendants continue to stonewall discovery
except for when they believe it can be used to attack opposing counsel. In sum, these issues do
not involve “run of mill” discovery disagreements and our client is incurring incredible expense
in connection with our unsuccessful attempts to confer in good faith.

Respectfully submitted,

Wasa Basa.

—Maureen T. Bass, Esq.

CC (via ECF):

Karl Sleight
Svetlana Ivy
